

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-65,241-04






MACE LEE MCGREW, Relator


v.


 JUDGE, 227TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 2003-CR-8727D IN THE 227TH JUDICIAL DISTRICT COURT


FROM BEXAR COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court. In it, he contends that he filed an application for a writ of habeas corpus in the 227th Judicial
District Court of Bexar County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court. Relator contends that the district court entered an order designating issues
on October 30, 2006.

	 In these circumstances, additional facts are needed. The respondent, the judge of the 227th  District
Court of Bexar County, is ordered to file a response with this Court by having the District Clerk submit the
record on such habeas corpus application or by setting out the reasons that no findings have been made
since the order designating issues was entered. This application for leave to file a writ of mandamus will be
held in abeyance until the respondent has submitted the appropriate response. Such response shall be
submitted within 30 days of the date of this order.


Filed:   June 20, 2007

Do not publish	


